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                  IN THE UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                      Case No. 11-280(16)(MJD/JSM)

UNITED STATES OF AMERICA,           )
                                    )
                  Plaintiff,        )       ORDER DENYING MOTION TO REVOKE
                                    )       RELEASE ORDER AND MODIFYING
  v.                                )       CONDITIONS OF RELEASE
                                    )
ERIKA ROMERO MONTENEGRO,            )
                                    )
                  Defendant.        )

       This matter came before the Honorable Chief Judge Michael J.

Davis on the United State’s motion for an order to revoke the order

of Magistrate Donna Ryu, Northern District of California, releasing

the defendant on conditions and an unsecured bond.                    The United

States was represented by Assistant United States Attorney Steven

L. Schleicher.     The defendant was not present but was represented

by her appointed attorney, Peter Wold.

       The Court, having considered the matter, including the proffer

of the United States, the report and recommendation of the Pre-

Trial Services officer from the Northern District of California,

and the arguments of counsel, makes the following:

                                    ORDER

       1.    The motions of the United States is DENIED;

       2.    The defendant’s conditions of release are modified as

follows: the defendant shall be subject to a location monitoring

program consistent with that offered and available in the Northern

District of California and the defendant shall abide by all



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requirements   of   that   program   as   directed   by   her   supervising

officer;

     3.     The defendant shall not be released until such time as

such monitoring program is available and in place;

     4.     All other terms and conditions of the defendant’s release

shall remain in effect;

     5.     The defendant shall appear in the District of Minnesota

for her first appearance on the Indictment on Monday, September 26,

2011, at 2 P.M. before the Honorable Steven Rau, in Courtroom 3C,

at the Federal Courthouse located at 316 Robert Street, St. Paul,

Minnesota, 55101.



Dated:    September 21, 2011     s/ Michael J. Davis

                                 Honorable Michael J. Davis
                                 Chief Judge
                                 United States District Court




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